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                                  United States District Court                              FILED
                                        Western District of Texas                        Mar 27 2023
                                           El Paso Division                           Clerk, U.S. District Court
                                                                                         Western District of
                                                                                               Texas

                                                                                By:            MVM
                                                                                                        Deputy
UNITED STATES OF AMERICA                        §
                                                §
vs.                                             § Case Number: EP:23-M -00780(1)RFC
                                                §
(1) LORENA MORENO                               §
                                                §
  Defendant
                  ORDER SETTING DETENTION HEARING
            IT IS HEREBY ORDERED that the above entitled and numbered case is set for
DETENTION HEARING in Magistrate Courtroom, Room 612, on the 6th Floor of the United
States Courthouse, 525 Magoffin Avenue, El Paso, TX, on:
                            Wednesday, March 29, 2023 at 8:30 AM
            IT IS FURTHER ORDERED that the Clerk of the Court shall send a copy of this
order to counsel for defendant, the United States Attorney, United States Pretrial Services and the
United States Probation Office, and any surety or custodian, if applicable. Further, counsel for
the defendant shall notify the defendant of this setting and, if the defendant is on bond, advise the
defendant to be present at this proceeding.

            In accordance with Federal Rule of Criminal Procedure 5(f), as amended by the Due
Process Protections Act, Pub. L. No. 116-182, 134 Stat. 894 (Oct. 21, 2020), the Government is
hereby notified of and ordered to comply with (1) the prosecutor's disclosure obligations under
Brady v. Maryland, 373 U.S. 83 (1963), and its progeny, and (2) the possible consequences of
violating this Order, which may include sanctions such as delay of trial or other proceedings, the
exclusion of evidence, the giving of adverse jury instructions, the grant of new trial, the dismissal
of an action, or finding in contempt.

IT IS SO ORDERED this 27th day of March, 2023.



                                                 ______________________________
                                                 ROBERT F. CASTANEDA
                                                 UNITED STATES MAGISTRATE JUDGE
